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2120 - Served »

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2121 - Served
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2321- Servui- By Mail

 

2421- Smed By Publicxmon

 

 

 

 

 

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_ sTBv£N MAJEWSKI :~AL::M>¢§' ,~§»§g§ g

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( ma 1093 -EAST, mc 13qu

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PFemise§ Liacility
No.

 

 

101 \ Ln<'_,
§\.3} vr{'®f`Mi"\ov\O~/\ il'-'T‘c' _
A,\A~\ NGRD SUMMONS
To each Defendant:

YOU ARE SUMMGNED and require\d tn me

an answer w the complaint m this case, a copy of which is

hereto amched, or otherwise tile your appearaan and pay the required fee,' m the Ofilce of the Clerk of this Court at the

 

following loeation:
d Richaxd J. Daley Ce.nter, 50 W. Was$ing¢on, Room 301 , Cdicago, l]linois 60602
EI District 2 ~ Skokie Cl .District 3 - Rolling Meadows a District 4 - Maywood
5600 Old Orchard Rd. 21121 Euclid 1500 Maybrook Ave.
sxome, m soon R€»mng Meaaows, xL 60008 Maywnnd, 11, sam
Cl Distn'ct 5 - Bridgeview n Di)strict 6 v Mark!mm El Chi!d Snpport

.10220 S. 76th Ave.
Bridgeview, IL 60455

16501 S Kedzie Pkwy.
Markham, IL 60426

28 North Clark St., Roam 200
Chicago, minnis 60602

You must file within 30 days after service of 1be Summons, not counting the day of semee.

rs YoU mm ro no so A armcme m’:
REQUES'I,'.ED IN 'THE COMPLA]NT. '

To the ofticer:

This Summons must be returned by

DEFAULT MAY `BE ENTERED AGAINST YCU FOR THE RELIE}?

;the omcer or other person to whom it was given for sérvice, with

endorsement of service and feeo, ii any, immediater afler serviee. If service camth be made, this Suromons shall
be returned so endorsed 'I‘his Summons may not be served later than 30 days after its date.

Name. ELMAN LAW Gkom», LLC

URO:H'¥ BR@W€*$
MTNESSBMBFCERO\MUM

§

 

Am. for: PLAINmF
Addwss: 212 W. WAS}HNGTON ST., SUIT]E 1208
Ciry/Sm¢e/Zip, CH[CAGO, IL 60606

 

mepm._.; 312~3934)777 emmaw@aol.wén ‘
l

Servicc by Facsimilc Tr_ansmissioo will be acc{zpted at:

 

DOROTH'Y BROWN, CLERK OF .THE CIRCUIT COURT OF COOK COUN'I'Y. IL ‘

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Page 3

 

(312) 739 21
(Ax¢a~¢.`ocl¢) (Faw‘mn¢ T¢!epdou Nn

   

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IN THE 'CIRCUIT,FCOURT OF COOK COUNTY, ILL!NO!S
LAW DIVISION
S'I`EVEN MAJEWSKI
P!ain!if!`, No.
vs. Amount Claimed: to bxceed'the
sum of $50,000 PLUS COSTS
TRADER JOE"S EAST, INC, 'lI`RADER ' M
JOE’S COM!’A`NY, ALDI, H`T€., ALDI §
IN'I‘ERNATIONAL, INC, AND ALDI _ f ' ‘_E.:§
NOR‘D - “"
._ '~~ '.`° '7
Defendant. 53 ' 1
. v - z;_>
m
COMPLAINT m

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COUNT I: STEVEN lV 'AJEWSK[ VS. TRADER JOE’S

 

 

 

EAST INC.

 

NOW CGMES the Plaintiff, STEVEN -MAJEWSKI, by anomeys, ELMAN LAW

GROUP, LLC, and in bomplaining of th'e Defegdant, TRADER JOE’S EA.ST, INC., ,.and'states

as follows:

I. That on the 9TH day ofJanuary 2¢014the Plaintiff, S'I'EVEN MAJEWSKI, , Was lawftu on

the premises as an invitee of the

 

oak Park, county of cook, and gsme ofminois

dee! Joe’s (Store #697) located at 483 N Harlem Ave,

a
2. Thc Defendant, 'I`RA.DER JOE’S EAST, [NC was the owner of and maintained control of the
'l`:rader Joe’s store identified in paragraph #1.

'I'I_mi ai.all times pertinent hereto, the
referred to in paragraph 1 and 2.

3, _ T'hat at 211 times pertinent hereto

Defeodant undertook to inspect and maintain said premises

', it Was the duty of the Defendant in its inspection and

maint'e:iaance ~othc premises to exercise ordinary care for the safety of ihe Plaintif£

v 'd 0909"0~

 

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..... . ____

 

4. That notwithstanding said duty, ;he Defendant was guilty of one or more of the following

negligent acts or omissions:

 

Failure to properly ` tain the entry way floor to be free of an unnatural
accumulation ofsno` and/or ice

Failnre to properly litem the entryway floors.

Fa.ilure to properly am the plaintiff of the unnatural accumulation of snow
and/or ice in enn'yway floor area

Failnre to properly mantain the entryway iler mats

t Pailure to properly ' eat the entryway floor mats.

Failure to properly warn the plaintiff of the rolled up mat in entry way area
Failed improperly po ition the entryway mat

5`-. 'l`hat as a direct and proximate result of one or more of the aforementioned'neg,ligent acts or

omissions of the Defendant, the Plaintiff fell at the entryway floor area while entering store

as an invitee,, causing the Plain` to lose her balance and fail, resulting in her sustaining

injury to various portions of her body, requiring her to expend money for medical care and

treatmch resulting in her experiencing pain, suffering and mental anguish both now and in

the funde;

resulting in her becoming both temporarily and permanently disabled and

' disiigmed,, and out of pocket exp arises

.d_

wHERaFORB, animi£.~; stem MAJEWSKI prays ndng against ne

Dcfendant,

TRADER .TOE’S EAlST, INC., in a sum`of money to exceed the sum of P'IFTY

'I'HQUSAND($50,000) plus costs for Plaintiff.~

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comm m sum N xlmmwsxo vs. TR.ADER ’s comm
Now coMEs me `Plaimiff, sTEvEN MAJEWSKI, by mmeys, ELMAN LAW
GRC)UP, 'LL<:, and in comng of the nercnaam, TRADER JoE’s cQMPANY, and

 

 

states as follows: .

1. mr on mg 9“‘ day ofxahumy 2314¢he main smVEN MAJEWSKL , was lawmly on
the promises as an invitee of the Trader Joc’s (Store #697) located at 483 N Harlem Ave,
Oak Park, Coimty of Cook, and Srate of`fllinois

2. 1113 Defcndam, TR;ADER JOE’S CGMPANY wa`s the owner of and maintained control of
the Trader Joe’s store identified n paragraph #l. l

Ibat at all times pertinent hercto, the Defendant undertook to inspect and maintain said premises

referred to in paragraph l and 2.. -

 

3. 'l`hat at all times pertinent hereto it was the duty ofthe Defendant in its inspection and
maintenance of the premises to e{>rcrcise ordinary care for the safety of the Plaintiff.
4-. 'I'hax nowithstanding said duty, - e Defcndant was guilty of one or more of the following

negligent acts or omissions

a. Failure to properly maintain.rh¢ entry way floor to be free of an unnatural

accumulation of snow and/or ice

 

' b. Failurc to properly insgpect the onhyway floors.
c. Failure w properly warn the plainti&` of the unnatural accumulation of snow
and/or ice in entrywa floor area
_ d. Failure to properly m ' rain the ennyway'iloor mats
e. Eai_luro to properly ` ect'the entzyway floor mats.
f. F`ailurc to properly :In the plaimiff of the rolled up mar in entry way area

g. Failed to properly po ` `on the entryway mat.

9 `d 0§09`°N l WV?§:O| SiOZ '?>Z`F'C'

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5. Thar as a direct and proximate result of one or more of the aforementioned negligent acts or

omissions of the Det"endant, the Plaimiif fell at the entryway iloor area while entering store

as m nvziee,, casing ne manion m lose her balance ana fan resulan in her morning

injury to various portions of her

body, requiring her to expend money for medical care and

l treannent; resulting in her experiencing pain, s'\lffezing and mental anguish both now and in

~ distigured,, and out of pocket exp

the funne; resulting in her bc

WHEREFOR.E, Pla.intif

&DS€S.

coming both temporarily and permanently disabled and

§ STEVEN MAJBWSKI prays judgment against tire

Defendant§ TRADER JOE’S C(*’¢MPMY , in a sum of money to exceed the sum of FJFI'Y

'I'HOUSAND($S0,000) plus cost

COUNT I]I: STEVEN
IN'I`E A ONAL

S for P]aimiff.

WSKI VS. ALD

 

 

NO`W COMES tire P]aix`

ALDI NORD ALDI

_ti&`, STEVEN MAJEWSKI, by attomeys, ELMAN LAW

GROUP, LLC, and in complaining of me Defendam, ALDI, INc, A.Lni Nonr), AND

ALD! INTERNA'I`IONAL, , and

res as follows:

That on the 973 day of.lanuary 2014¢31¢ Plainlif£, S'i`EVEN MAJEWSKI, , was lawiully on

the premises as an invitee ofthe
Oak Park, County of C`ook_, and
The Defendants, A.LDI IN'I'ERNl

ofand maintained control of the

'I'hat at ali times pertinent hereto, the

'd

referred to in.parag,raph] and 2.. '

hmo of illinois

 

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Page 7

[`rader ioe’s (Store #697) located ar 483 N Harlem vAvo,

XTIONAL, ALDI NORD,. AND ALDI INC was the owner
rrader Joe’s store identified in paragraph #1 .
Defendant undertook to inspect and maintain said premises

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Dr\Prinflmag€Bund|er\T€®el§§§§YW@°WTGMGQ§©§U$T}§§th 1-1 Fi|€d: 01/20/16 Pag€ 6 Of 7 Pag€|D #ZlO

 

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3. 'Iliar ar all tier pertinent hereto, it was the duly ofthe `Defendant in irs inspection and
maintenance ofthe premises to exercise ordinary care for the safety ofthe Plaintif£
4. 'I`nat notwithstanding said duty, the Defendan! was guilty of one or more of the following

negligent acts or omissions:

a Failure to properly-maintain the entry way floor to be rice of an unnatural
accumulation of snow and!or ice

be Failure to properly inspect the entryway 'floors.

 

c. l-`ailure to properly warn the plaintiff of the unnamed accumulation of snow
and/or ice in entry\m'ly floor area.

d. Failure to properly maintain me entryway floor mars

e. Failnre to properly inspect the ennyway floor mats.

f. failure to properly nam the plaintiff of the rolled up mat in entry way area

g. FaHed to properly position the entryway mar

- _5. That as a direct and proximate nemnt of one or more of the aforementioned_negligent acts or

emissions of the Defendant, the Plaintiff fell at the entryway floor area while entering store

 

as an invitee,, causing the Plair‘iiiH to lose her balance and fall, resulting in her'susiaining
injury to various portions of herg body, requiring her to expend money for medical care and
treatment; resulting in her experiencing pain, suffering and mental anguish both now and»in
the funzre; resulting in her becoming both temporarily and permanently disabled and
disfiguted,, and out of packer exlleoses _

WHEREFORE, Plamdflf; STEVEN MAJEWSKI prays judgment against the
Defend.ant, ALDI' INIERNAH®NAL, ALDI NORD, AND ALDI, INC in a sum of money
to exceed the sum ofFlFTY TH, USAND($$0,000) plus costs for Plaintif£.

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I, ANTHONY R. ELMAN an attorney for me lynn/nm gram on oath that 1 am familiar
wrch the facts relating to the above captioned matt -. /'Ihat the allegations contained' m the

Complaint are true and the nature

 

_ELMAN LAW GROUP, LLC, #32429
212 W WASHI_NGTON, SUITE 1208
CHICA-GO, ]L 60606
plumer 312-893-07‘?7
fax‘: 312-739-2162
_e_bnanlaw@aol.cog

 

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